Case 2:24-cr-00091-ODW   Document 70 Filed 05/21/24   Page 1 of 11 Page ID
                                 #:1105
Case 2:24-cr-00091-ODW   Document 70 Filed 05/21/24   Page 2 of 11 Page ID
                                 #:1106
Case 2:24-cr-00091-ODW   Document 70 Filed 05/21/24   Page 3 of 11 Page ID
                                 #:1107
Case 2:24-cr-00091-ODW   Document 70 Filed 05/21/24   Page 4 of 11 Page ID
                                 #:1108
Case 2:24-cr-00091-ODW   Document 70 Filed 05/21/24   Page 5 of 11 Page ID
                                 #:1109
Case 2:24-cr-00091-ODW   Document 70 Filed 05/21/24   Page 6 of 11 Page ID
                                 #:1110
Case 2:24-cr-00091-ODW   Document 70 Filed 05/21/24   Page 7 of 11 Page ID
                                 #:1111
Case 2:24-cr-00091-ODW   Document 70 Filed 05/21/24   Page 8 of 11 Page ID
                                 #:1112
Case 2:24-cr-00091-ODW   Document 70 Filed 05/21/24   Page 9 of 11 Page ID
                                 #:1113
Case 2:24-cr-00091-ODW   Document 70 Filed 05/21/24   Page 10 of 11 Page ID
                                  #:1114
Case 2:24-cr-00091-ODW   Document 70 Filed 05/21/24   Page 11 of 11 Page ID
                                  #:1115
